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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

ASSOCIATION FOR COMMUNITY
AFFILIATED PLANS,
NATIONAL ALLIANCE ON MENTAL
ILLNESS,
MENTAL HEALTH AMERICA,
AMERICAN PSYCHIATRIC
ASSOCIATION.
AIDS UNITED,                               Civil Action No. 18-2133
THE NATIONAL PARTNERSHIP FOR
WOMEN & FAMILIES,
LITTLE LOBBYISTS, LLC

                Plaintiffs,

     v.

UNITED STATES DEPARTMENT OF
TREASURY,
U.S. DEPARTMENT OF LABOR,
U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES,
ALEX M. AZAR II, IN HIS OFFICIAL
CAPACITY AS SECRETARY OF HEALTH
AND HUMAN SERVICES,
PATRICK PIZZELLA, IN HIS OFFICIAL
CAPACITY AS ACTING SECRETARY OF
LABOR,
STEVEN MNUCHIN, IN HIS OFFICIAL
CAPACITY AS SECRETARY OF THE
TREASURY,
UNITED STATES OF AMERICA

                Defendants.
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                                 PLAINTIFFS’ NOTICE OF APPEAL

        Notice is hereby given that all plaintiffs in the above-captioned case appeal to the United

States Court of Appeals for the District of Columbia Circuit from an order granting defendants’

motion for summary judgment and denying plaintiffs’ motion for summary judgment, entered in

this action on the 19th day of July, 2019.

                                                        Respectfully submitted,

Dated: July 29, 2019                                    /s/ Andrew J. Pincus
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supervision of firm principals.
